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Case 3:21-cr-00434-N -. SEALED” Page 1of7 PagelID1
U.S. DISTT

 

NORTHERN NDIS

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION

  

 

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UNITED STATES OF AMERICA L a
. UNDER SEAL
AMBROSE SUNDAY OHIDE (01) 3-2 1 CR 0434. 8
INDICTMENT
The Grand Jury charges:
Count One

Conspiracy to Commit Wire Fraud
[Violation of 18 U.S.C. § 1349 and 18 U.S.C. § 1343]

1. Beginning at least as early as November 4, 2015, and continuing at least
until June 19, 2018, the exact dates being unknown to the Grand Jury, in the Northern
District of Texas, and elsewhere, the defendant, Ambrose Sunday Ohide, did knowingly
combine, conspire, confederate, and agree with others known and unknown to the Grand
Jury, to commit the following offense, namely, to knowingly and willfully devise a
scheme and artifice to defraud and to obtain money and property by means of materially
false and fraudulent pretenses, representations, and promises, and for the purpose of
executing and attempting to execute the scheme to defraud did kriowingly transmit and
cause to be transmitted by means of wite communication in interstate and foreign
commerce writings, signs, signals, pictures, and sounds, specifically, wire transfers of
funds from romance scam victims into his and co-conspirators’ bank accounts, in

violation of Title 18, United States Code, Section 1343.

 
Case 3:21-cr-00434-N sDocument 1 Filed 09/15/21 Page2of7 PagelD 2
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Purpose of the Conspiracy and Scheme to Defraud

2. The purpose of the conspiracy was to: (a) make materially false and
fraudulent pretenses, representations, and promises to individuals targeted on dating
websites about their identities to induce the targets of the romance scams to send them
funds; and (b) use the proceeds received from the romance scams for their own benefit and
for purposes other than those represented to the romance scam victims.

Manner and Means of the Conspiracy and Scheme to Defraud

3. It was part of the conspiracy and scheme and artifice to defraud, and among
the manner and means by which the defendant and his co-conspirators carried out the
conspiracy, that:

a. Co-conspirators targeted older, often widowed or divorced individuals, with
savings, as romantic interests on dating websites such as PlentyofFish.com
and Christianmingle.com;

b. Co-conspirators created false and fraudulent identities and backgrounds on
dating websites to appear to be individuals living in the United States to
gain the romance victims’ confidence and trust;

c. Co-conspirators often communicated with their romance scam victims
through the dating websites as well as via email and text but never met their
victims in person;

d. After developing the romance victims’ confidence and trust, the co-
conspirators falsely and fraudulently claimed that they were abroad for

business, had bills to pay, or owed taxes abroad and then falsely and
Case 3:21-cr-00434-N .Document1 Filed 09/15/21 Page3of7 PagelD3
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fraudulently claimed they were unable to access their bank accounts in the
United States;

e. Co-conspirators then directed the romance scam victims to send money to
specific accounts under false and fraudulent pretenses;

f. Co-conspirators typically removed the funds received from romance scams
victim from the account that initially received them within days by making
cash withdrawals;

g. Once a romance scam victim had sent money to one co-conspirator, that
victim was often instructed to send money to other co-conspirators;

h. After the co-conspirators depleted the victims of all funds the victims were
able and willing to send, often depleting victims’ of their entire savings, the
co-conspirators stopped communicating with the victims.

4, It was part of the conspiracy and scheme and artifice to defraud, and among
the manner and means by which the defendant and his co-conspirators carried out the
conspiracy, that:

a. On or about November 4, 2015, one or more co-conspirators using the
name “Steven Potter” caused romance scam victim whose initials are MB,
met through Christianmingle.com, to wire $40,000 from her Wells Fargo
account in North Dakota to an account ending in 6075 at BB&T Bank in

Tallahassee, Florida, in the name of Pincin Import and Export LLC, whose

sole signatory is Ambrose Sunday Ohide, purportedly to meet his payroll;
Case 3:21-cr-00434-N ..Document 1 Filed 09/15/21 Page4of7 PagelD 4
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name “Steven Potter” caused romance scam victim MB to wire $5,900
from her Wells Fargo account in North Dakota to an account ending in
6075 at BB&T Bank in the name of Pincin Import and Export LLC
controlled by Ambrose Sunday Ohide, purportedly for payroll;

c. On or about November 5, 2015, Ambrose Sunday Ohide wired $36,000 to
account ending in 8262 held at Comerica Bank in the name of OCS Motors
and withdrew $9,000 in cash from his account ending in 6075 at BB&T
Bank;

d. On or about June 14, 2018, one or more co-conspirators caused romance
scam victim CLB to write a check in the amount of $32,800.20 from her
Bank of America account to CMP Trading Co. and deposit the check into a
CMP Trading account ending in 8598 at Bank of America, whose sole
signatory is Ambrose Sunday Ohide, purportedly to pay for taxes;

e. Between approximately June 14, 2018, and June 19, 2018, Ambrose
Sunday Ohide, in eight separate transactions, withdrew $30,566 from his
account ending in 6075 at BB&T Bank.

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b. On or about November 5, 2015, one or more co-conspirators using the
All in violation of 18 U.S.C. § 1349.
Case 3:21-cr-00434-N “Document 1 Filed 09/15/21 Page 5 of 7 PagelD5

Notice of Criminal Forfeiture
[18 U.S.C. § 981(a)(1)(C) and 28 U.S.C, § 2461(c)]

Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461 (c), upon conviction of
any offense violating 18 U.S.C. §§ 1349 and 1343, the defendant, Ambrose Sunday
Ohide, shall forfeit to the United States of America any property, real or personal, that
constitutes or is derived from proceeds traceable to the scheme to defraud.

The property to be forfeited includes, but is not limited to:

" The property to be forfeited may take the form of a forfeiture “money”

judgment; and

« Substitute property as allowed by 28 U.S.C. § 2461(c) and 21 U.S.C. § 853(p).

[nothing further on this page]
Case 3:21-cr-00434-N Document1 Filed 09/15/21 Page 6 of 7 PagelD 6

A TRUE BILL
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Case 3:21-cr-00434-N Document1 Filed 09/15/21 Page7of7 PagelD7

THE UNITED STATES DISTRICT COURT |
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

v .

AMBROSE SUNDAY OHIDE . |

 

SEALED INDICTMENT

18 U.S.C. § 1349 and 18 U.S.C. § 1343

Conspiracy to Commit Wire Fraud
(Count 1)

18 U.S.C. § 981 (a)(1)(C) and 28 U.S.C. § 2461{c)
Forfeiture Notice

1 Count |

 

THE UNITED STATES OF AMERICA |
A true bill rendered

FORT WORTH Co FOREPERSON

 

Warrant to be Issued

 

Filed in open court this | S day of September, 2021.

 
